THOMAS GIRDLESTONE,

Piainsff,

ACE LIMITED, a/ k/ a ACE GROUP &

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT IG\TOXVILLE

V.

Civil Action No. 3:09-CV-530

\/\_/\_/\/\./\/\/\/\/\_/\_/V

ACE WESTCHESTER, d / b / a ILLINOIS Phillips/Shirley
UNION INSURANCE
Defendant.
MOTION TO DISMISS

 

Comes now Defendant ACE Limited by and through its counsel and pursuant to Rule lZ(b) (6)

and moves this Honorable Court for an Order dismissing the above~captioned lawsuit with prejudice

Mr. Girdlestone’s Complaint should be dismissed for the following reasons:

1.

Because Mr. Girdlestone has failed to allege a denial of coverage -- either defense
or indemnity - by Illinois Union, this entire insurance coverage lawsuit should be
dismissed with prejudice.

Because Mr. Girdlestone has failed to allege the existence of any cognizable duty
that was breached by Illinois Union, this entire lawsuit should be dismissed with
prejudice.

Because the Tennessee Unfair Trade Practice and Unfair Claims Settlement Act
of 2009 was not effective and does not afford a private right of action, Mr.
Girdlestone’s First Cause of Action - Count 1 - should be dismissed with
prejudice.

Because Tennessee does not recognize mere negligence as a sufficient basis for
the imposition of “bad faith” or extra-contractual liability in insurance coverage
cases, and because Mr. Girdlestone has failed to identify the breach of a duty
owed him by Illinois Union, his Second Cause of Action - Count 2 - should be
dismissed with prejudice.

Case 3:09-cV-00530-TWP-CCS Document 5 Filed 01/04/10 Page 1 of 3 Page|D #: 61

 

5. Because Mr. Girdlestone failed to allege any facts that give rise to a violation of
the Tennessee Consumer Protection Act, his Third Cause of Action - Count 3 -
should be dismissed with prejudice.

6. Because Mr. Girdlestone has failed to identify any contractual obligation or duty
that was breached by Illinois Union, his Fourth Cause of Action - Count 4 -
should be dismissed with prejudice.

7. Because Mr. Girdlestone has failed to allege any facts that give rise to the tort of
Outrageous Conduct, and has further failed to allege the existence of the
necessary elements of that tort, his Fifth Cause of Action - Count 5 - should be
dismissed with prejudice

8. Because Mr. Girdlestone has failed to allege the existence of the necessary
elements to support a claim of Fraudulent Misrepresentation, his Sixth Cause of
Action - Count 6 - should be dismissed with prejudice.

9. Mr. Girdlestone has not named the proper defendant, entitling ACE Limited to a
dismissal of this lawsuit with prejudice.

ln summary, Mr. Girdlestone received every benefit to which he was entitled as an insured Mr.
Girdlestone has failed to state a valid claim for which relief can be granted, and his lawsuit should be
dismissed with prejudice

Respectfully submitted, this the 4th day of ]anuary 2010.

[s[ Robert L. Bowman
Robert L. Bowman (BPR # 017266)

Betsyj. Beck (BPR #()22863)
Kramer Rayson LLP

Post Office BoX 629
Knonille, TN 37901-0629
(865> 525-5134

(Lom/ Coz/me/)

Gregoiy W. Brown

(NC BAR # 26238 /VA Bar # 36369)
_jessica C. Tyndall

(NC BAR # 28745/SC Bar # 76427)
Brown Law LLP

5410 Trinity Road, Suite 116

Raleigh, North Carolina 27607

(Pro Hclc‘ M()lz'om T0 Be FZ'/ec/)

Case 3:09-cV-00530-TWP-CCS Document 5 Filed 01/04/10 Page 2 of 3 Page|D #: 62

 

CERTIFICATE OF SERVICE

l hereby certify that on this the 4th of ]anuary, 201(), a copy of the foregoing was filed
electronica]ly. Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt All other parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s electronic filing system.

s 1 Robert L. Bowman

Robert L. Bowman

Case 3:09-cv-OO530-TWP-CCS Document 5 Filed 01/04/10 Page 3 of 3 Page|D #: 63

 

